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                       Exhibit A

                Proposed Interim Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )    Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. __

                      INTERIM ORDER (I) APPROVING
           NOTIFICATION AND HEARING PROCEDURES FOR CERTAIN
       TRANSFERS OF COMMON STOCK AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for the entry of an interim order (this “Interim Order”) (a) authorizing

the Debtors to approve the Procedures related to transfers of Beneficial Ownership of Common

Stock; (b) directing that any purchase, sale, other transfer of Beneficial Ownership of Common

Stock in violation of the Procedures shall be null and void ab initio; and (c) granting related relief,

all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.     The Motion is granted on an interim basis as set forth herein.

        2.     The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2023

and shall be served on: (a) the Debtors, 11500 Outlook Street, Suite 400, Overland Park, Kansas

66211, Attn.: General Counsel; (b) proposed counsel to the Debtors (i) Kirkland & Ellis LLP, 300

North    LaSalle,    Chicago,     Illinois,    60654,        Attn.:   Patrick     J.     Nash    Jr.,    P.C.

(patrick.nash@kirkland.com), David Seligman P.C. (david.seligman@kirkland.com); and

Whitney Fogelberg (whitney.fogelberg@kirkland.com) and (ii) Kirkland & Ellis LLP, 601

Lexington    Avenue,     New     York,        New     York     10022,    Attn.:        Allyson   B.     Smith

(allyson.smith@kirkland.com); (iii) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street,

17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn: Laura Davis Jones

(ljones@pszjlaw.com),     Timothy      P.     Cairns    (tcairns@pszjlaw.com),           Peter   J.     Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (c) the United States

Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane




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Leamy (jane.m.leamy@usdoj.gov); and (d) any statutory committee appointed in these chapter 11

case.

        3.     The Procedures, as set forth in Exhibit 1 attached hereto, are hereby approved.

        4.     Any transfer of Beneficial Ownership of Common Stock in violation of the

Procedures, including but not limited to the notice requirements, shall be null and void ab initio.

        5.     In the case of any such transfer of Beneficial Ownership of Common Stock in

violation of the Procedures, including but not limited to the notice requirements, the person or

entity making such transfer shall be required to take remedial actions specified by the Debtors,

which may include the actions specified in Private Letter Ruling 201010009 (Dec. 4, 2009), to

appropriately reflect that such transfer is null and void ab initio.

        6.     The Debtors may prospectively or retroactively waive any and all restrictions, stays,

and notification procedures set forth in the Procedures.

        7.     The Debtors shall post the Procedures to the website established by Epiq Corporate

Restructuring, LLC for these chapter 11 cases with such notice being reasonably calculated to

provide notice to all parties that may be affected by the Procedures, whether known or unknown.

        8.     The requirements set forth in this Interim Order are in addition to the requirements

of applicable law and do not excuse compliance therewith.

        9.     Other than to the extent that this Interim Order expressly conditions or restricts

trading in Common Stock, nothing in this Interim Order or in the Motion shall, or shall be deemed

to, prejudice, impair, or otherwise alter or affect the rights of any holders of Common Stock,

including in connection with the treatment of any such stock under any chapter 11 plan or any

applicable bankruptcy court order.




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       10.     Nothing contained in the Motion or this Interim Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Interim

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount,

validity or priority of, or basis for any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Interim

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.

       11.     The Debtors have demonstrated that the requested relief is “necessary to avoid

immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.

       12.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       13.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       14.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




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                           Exhibit 1

Procedures for Transfers of Beneficial Ownership of Common Stock
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                   PROCEDURES FOR TRANSFERS OF COMMON STOCK


The following procedures apply to transfers of Common Stock:1

        a.        Any entity (as defined in section 101(15) of the Bankruptcy Code) that is a
                  Substantial Shareholder (as defined herein) must file with the Court, and
                  serve upon: (i) the Debtors, Yellow Corporation, 200 W. 110th Street,
                  Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed
                  co-counsel to the Debtors, Kirkland & Ellis LLP, 300 North LaSalle,
                  Chicago,       Illinois,     60654,       Attn.:     Patrick      J.      Nash
                  (patrick.nash@kirkland.com),                   David                  Seligman
                  (david.seligman@kirkland.com),            and       Whitney          Fogelberg
                  (whitney.fogelberg@kirkland.com), and Kirkland & Ellis LLP, 601
                  Lexington Avenue, New York, New York 10022, Attn.: Allyson B. Smith
                  (allyson.smith@kirkland.com); (iii) proposed co-counsel to the Debtors,
                  Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
                  PO Box 8705, Wilmington, Delaware 19801, Attn: Laura Davis Jones
                  (ljones@pszjlaw.com) and Timothy P. Cairns (tcairns@pszjlaw.com);
                  (iv) counsel to any statutory committee appointed in these chapter 11 cases;
                  (v) the U.S. Trustee for the District of Delaware, 844 King Street, Suite
                  2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane Leamy; and
                  (vi) any party that has requested notice pursuant to Bankruptcy Rule 2002
                  or Local Counsel Rule 2002-(b), (collectively, the “Declaration Notice
                  Parties”), a declaration of such status, substantially in the form attached to
                  the Procedures as Exhibit 1A (each, a “Declaration of Status as a
                  Substantial Shareholder”), on or before the later of (A) twenty calendar
                  days after the date of the Notice of Interim Order, or (B) ten calendar days
                  after becoming a Substantial Shareholder; provided that, for the avoidance
                  of doubt, the other procedures set forth herein shall apply to any Substantial
                  Shareholder even if no Declaration of Status as a Substantial Shareholder
                  has been filed.2

        b.        Prior to effectuating any transfer of Beneficial Ownership of Common
                  Stock that would result in an increase in the amount of Common Stock of
                  which a Substantial Shareholder has Beneficial Ownership or would result
                  in an entity or individual becoming a Substantial Shareholder, the parties to
                  such transaction must file with the Court, and serve upon the Declaration
                  Notice Parties, an advance written declaration of the intended transfer of
                  Common Stock, as applicable, substantially in the form attached to the

1   Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.

2   Notwithstanding anything to the contrary in these procedures and notwithstanding that the U.S. Department of
    the Treasury is a Substantial Shareholder, the U.S. Department of the Treasury is excluded from the requirements
    in this paragraph (a) and shall not be required to file, or to serve upon any person or entity, a Declaration of Status
    as a Substantial Shareholder.
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      Procedures as Exhibit 1B (each, a “Declaration of Intent to Accumulate
      Common Stock”).

c.    Prior to effectuating any transfer of Beneficial Ownership of Common
      Stock that would result in a decrease in the amount of Common Stock of
      which a Substantial Shareholder has Beneficial Ownership or would result
      in an entity or individual ceasing to be a Substantial Shareholder, the parties
      to such transaction must file with the Court, and serve upon the Declaration
      Notice Parties, an advance written declaration of the intended transfer of
      Common Stock substantially in the form attached to the Procedures as
      Exhibit 1C (a “Declaration of Intent to Transfer Common Stock” and
      together with a Declaration of Intent to Accumulate Common Stock,
      a “Declaration of Proposed Transfer”).

d.    The Debtors and the other Declaration Notice Parties shall have
      twenty calendar days after receipt of a Declaration of Proposed Transfer to
      file with the Court and serve on such Substantial Shareholder or potential
      Substantial Shareholder an objection to any proposed transfer of Beneficial
      Ownership of Common Stock, as applicable, described in the Declaration
      of Proposed Transfer on the grounds that such transfer might adversely
      affect the Debtors’ ability to utilize their Tax Attributes. If the Debtors or
      any of the other Declaration Notice Parties file an objection, such
      transaction will remain ineffective unless such objection is withdrawn, or
      such transaction is approved by a final and non-appealable order of the
      Court. If the Debtors and the other Declaration Notice Parties do not object
      within such twenty-day period, (a) the Debtors must provide written notice
      to (i) Milbank LLP, 55 Hudson Yards, New York, New York 10001, Attn.:
      Dennis F. Dunne (DDunne@milbank.com) and Matthew L. Brod
      (MBrod@milbank.com) (as counsel to the administrative agent to the
      Prepetition B-2 Lenders), (ii) Arnold & Porter Kaye Scholer LLP, 70 West
      Madison Street, Suite 4200, Chicago, Illinois 60602, Attn: Michael
      Messersmith (Michael.Messersmith@arnoldporter.com), Arnold & Porter
      Kaye Scholer LLP, 250 West 55th Street, New York, New York 10019,
      Attn.: Benjamin Mintz (Benjamin.Mintz@arnoldporter.com), and Arnold
      & Porter Kaye Scholer LLP, 601 Massachusetts Ave., N.W., Washington,
      DC 20001, Attn.: Rosa Evergreen (Rosa.Evergreen@arnoldporter.com) (as
      counsel to the United States Department of Treasury), (iii) the U.S. Trustee
      for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
      Wilmington,        Delaware         19801,       Attn.:      Jane      Leamy
      (jane.m.leamy@usdoj.gov), (iv) White & Case LLP, 1221 Avenue of the
      Americas, New York, New York 10020-1095, Attn: Scott Greissman
      (sgreissman@whitecase.com), Elizabeth Feld (efeld@whitecase.com), and
      Andrew Zatz (azatz@whitecase.com) (as counsel to Beal Bank USA), and
      (v) Choate, Hall & Stewart LLP, Two International Place, Boston, MA
      02110, Attn.: Hampton, Foushee (hfoushee@choate.com); and (b) such
      transaction can proceed solely as set forth in the Declaration of Proposed
      Transfer. Further transactions within the scope of this paragraph must be


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              the subject of additional notices in accordance with the procedures set forth
              herein, with an additional twenty-day waiting period for each Declaration
              of Proposed Transfer. To the extent that the Debtors receive an appropriate
              Declaration of Proposed Transfer and determine in their business judgment
              not to object, they shall provide notice of that decision as soon as is
              reasonably practicable to any statutory committee(s) appointed in these
              chapter 11 cases.

       e.     For purposes of these Procedures: (i) a “Substantial Shareholder” is any
              entity or individual person that has Beneficial Ownership of at least:
              2,345,847 shares of Common Stock (representing approximately 4.5
              percent of all issued and outstanding shares of Common Stock); and
              (ii) “Beneficial Ownership” will be determined in accordance with the
              applicable rules of section 382 of the IRC, and the Treasury Regulations
              promulgated thereunder (other than Treasury Regulations section
              1.382-2T(h)(2)(i)(A)) and includes direct, indirect, and constructive
              ownership (e.g., (1) a holding company would be considered to beneficially
              own all equity securities owned by its subsidiaries, (2) a partner in a
              partnership would be considered to beneficially own its proportionate share
              of any equity securities owned by such partnership, (3) an individual and
              such individual’s family members may be treated as one individual,
              (4) persons and entities acting in concert to make a coordinated acquisition
              of equity securities may be treated as a single entity, and (5) a holder would
              be considered to beneficially own equity securities that such holder has an
              Option (as defined herein) to acquire). An “Option” to acquire stock
              includes     all    interests   described     in     Treasury      Regulations
              section 1.382-4(d)(9), including any contingent purchase right, warrant,
              convertible debt, put, call, stock subject to risk of forfeiture, contract to
              acquire stock, or similar interest, regardless of whether it is contingent or
              otherwise not currently exercisable.



                                   NOTICE PROCEDURES

The following notice procedures apply to these Procedures:

       a.     No later than two business days following entry of the Interim Order, the
              Debtors shall serve a notice by first class mail, substantially in the form
              attached to the Procedures as Exhibit 1D (the “Notice of Interim Order”),
              on (i) the U.S. Trustee for the District of Delaware; (ii) the entities listed on
              the consolidated list of creditors holding the 30 largest unsecured claims;
              (iii) the U.S. Securities and Exchange Commission; (iv) the Internal
              Revenue Service; (v) counsel to any official committee appointed in these
              chapter 11 cases; (vi) all registered and nominee holders of Common Stock,
              as applicable; and (vii) any party that has requested notice pursuant to
              Bankruptcy Rule 2002 or Local Rule 2002-1(b). Additionally, no later than


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      two business days following entry of the Final Order, the Debtors shall
      serve a Notice of Interim Order modified to reflect that the Final Order has
      been entered (as modified, the “Notice of Final Order”) on the same entities
      that received the Notice of Interim Order.

b.    All registered and nominee holders of Common Stock shall be required to
      serve the Notice of Interim Order or Notice of Final Order, as applicable,
      on any holder for whose benefit such registered or nominee holder holds
      such Common Stock, down the chain of ownership for all such holders of
      Common Stock.

c.    Any entity or individual, or broker or agent acting on such entity’s or
      individual’s behalf who sells Common Stock to another entity or individual,
      shall be required to serve a copy of the Notice of Interim Order or Notice of
      Final Order, as applicable, on such purchaser of such Common Stock, or
      any broker or agent acting on such purchaser’s behalf.

d.    To the extent confidential information is required in any declaration
      described in the Procedures, such confidential information may be filed and
      served in redacted form; provided, however, that any such declarations
      served on the Debtors shall not be in redacted form. The Debtors shall keep
      all information provided in such declarations strictly confidential and shall
      not disclose the contents thereof to any person except: (i) to the extent
      necessary to respond to a petition or objection filed with the Court;
      (ii) to the extent otherwise required by law; or (iii) to the extent that the
      information contained therein is already public; provided, however, that the
      Debtors may disclose the contents thereof to their professional advisors,
      who shall keep all such notices strictly confidential and shall not disclose
      the contents thereof to any other person, subject to further Court order. To
      the extent confidential information is necessary to respond to an objection
      filed with the Court, such confidential information shall be filed under seal
      or in a redacted form.




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                         Exhibit 1A

      Declaration of Status as a Substantial Shareholder
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                          )
    In re:                                                                )     Chapter 11
                                                                          )
    YELLOW CORPORATION, et al.,1                                          )     Case No. 23-11069 (___)
                                                                          )
                               Debtors.                                   )     (Joint Administration Requested)
                                                                          )

              DECLARATION OF STATUS AS A SUBSTANTIAL SHAREHOLDER2

             PLEASE        TAKE        NOTICE           that    the     undersigned        party     is/has     become        a

Substantial Shareholder with respect to the existing classes (or series) of common stock or any

Beneficial Ownership therein (any such record or Beneficial Ownership of common stock,

collectively, the “Common Stock”) of Yellow Corporation (“Yellow”). Yellow is a debtor and

debtor in possession in Case No. 23-11069 (__) pending in the United States Bankruptcy Court

for the District of Delaware (the “Court”).

             PLEASE TAKE FURTHER NOTICE that, as of __________ __, 2023, the undersigned

party currently has Beneficial Ownership of _________ shares of Common Stock. The following


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 2,345,847 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); and (ii) “Beneficial Ownership” will be determined in accordance
      with the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations
      section 1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding
      company would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in
      a partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations
      section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject
      to risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise
      not currently exercisable.
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table sets forth the date(s) on which the undersigned party acquired Beneficial Ownership of such

Common Stock:

      Number of Shares                    Date Acquired                     Debtor Entity




                          (Attach additional page or pages if necessary)

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock and

(II) Granting Related Relief [Docket No. ___] (the “Interim Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Interim Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the Substantial

Shareholder, the Declaration to be filed with this Court (but not the Declaration that is served upon

the Declaration Notice Parties) may be redacted to exclude the Substantial Shareholder’s taxpayer

identification number and the amount of Common Stock that the Substantial Shareholder

beneficially owns.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this


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Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.



                                                      Respectfully submitted,

                                                      (Name of Substantial Shareholder)

                                                      By:
                                                      ________________________________
                                                      Name: _____________________________
                                                      Address: ___________________________
                                                      ___________________________________
                                                      Telephone: _________________________
                                                      Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________
       (City)      (State)




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                        Exhibit 1B

     Declaration of Intent to Accumulate Common Stock
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                        )
    In re:                                                              )     Chapter 11
                                                                        )
    YELLOW CORPORATION, et al.,1                                        )     Case No. 23-11069 (___)
                                                                        )
                               Debtors.                                 )     (Joint Administration Requested)
                                                                        )

              DECLARATION OF INTENT TO ACCUMULATE COMMON STOCK 2

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to purchase, acquire, or otherwise accumulate (the “Proposed Transfer”) one or more

shares of the existing classes (or series) of common stock or any Beneficial Ownership therein

(any such record or Beneficial Ownership of common stock, collectively, the “Common Stock”)

of Yellow Corporation (“Yellow”).                     Yellow is a debtor and debtor in possession in

Case No. 23-11069 (___) pending in the United States Bankruptcy Court for the District of

Delaware (the “Court”).




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 511500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     For purposes of this Declaration: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 2,345,847 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); and (ii) “Beneficial Ownership” will be determined in accordance
      with the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations section
      1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding company
      would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in a
      partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations section
      1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to risk
      of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
      currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, if applicable, on ___________ __, 2023, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to purchase, acquire, or otherwise accumulate Beneficial Ownership

of _________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have Beneficial

Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ___________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock, and

(II) Granting Related Relief [Docket No. ___] (the “Interim Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Interim Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Declaration

Notice Parties) may be redacted to exclude the undersigned party’s taxpayer identification number

and the amount of Common Stock that the undersigned party beneficially owns.




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       PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, the

undersigned party acknowledges that it is prohibited from consummating the Proposed Transfer

unless and until the undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors and the other Declaration Notice

Parties have twenty calendar days after receipt of this Declaration to object to the Proposed

Transfer described herein. If the Debtors or any of the other Declaration Notice Parties file an

objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn or

such transaction is approved by a final and non-appealable order of the Court. If the Debtors and

the other Declaration Notice Parties do not object within such twenty-day period, then after

expiration of such period the Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party purchasing, acquiring, or otherwise

accumulating Beneficial Ownership of additional shares of Common Stock will each require an

additional notice filed with the Court to be served in the same manner as this Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




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                                               Respectfully submitted,

                                               (Name of Declarant)

                                               By:
                                               ________________________________
                                               Name: _____________________________
                                               Address: ___________________________
                                               ___________________________________
                                               Telephone: _________________________
                                               Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________
       (City)      (State)




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                        Exhibit 1C

       Declaration of Intent to Transfer Common Stock
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                        )
    In re:                                                              )     Chapter 11
                                                                        )
    YELLOW CORPORATION, et al.,1                                        )     Case No. 23-11069 (___)
                                                                        )
                               Debtors.                                 )     (Joint Administration Requested)
                                                                        )

                DECLARATION OF INTENT TO TRANSFER COMMON STOCK2

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to sell, trade, or otherwise transfer (the “Proposed Transfer”) one or more shares of the

existing classes (or series) of common stock or any Beneficial Ownership therein (any such record

or Beneficial Ownership of common stock, collectively, the “Common Stock”) of Yellow

Corporation (“Yellow”). Yellow is a debtor and debtor in possession in Case No. 23-11069 (__)

pending in the United States Bankruptcy Court for the District of Delaware (the “Court”).




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2     For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 2,345,847 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); and (ii) “Beneficial Ownership” will be determined in accordance
      with the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations section
      1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding company
      would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in a
      partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations section
      1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to risk
      of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
      currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, if applicable, on __________ __, 2023, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to sell, trade, or otherwise transfer Beneficial Ownership of

_________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have Beneficial

Ownership of_________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock and

(II) Granting Related Relief [Docket No. ___] (the “Interim Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Interim Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Declaration

Notice Parties) may be redacted to exclude the undersigned party’s taxpayer identification number

and the amount of Common Stock that the undersigned party beneficially owns.




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       PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, the

undersigned party acknowledges that it is prohibited from consummating the Proposed Transfer

unless and until the undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors and the other Declaration Notice

Parties have twenty calendar days after receipt of this Declaration to object to the Proposed

Transfer described herein. If the Debtors or any of the other Declaration Notice Parties file an

objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn or

such transaction is approved by a final and non-appealable order of the Court. If the Debtors and

the other Declaration Notice Parties do not object within such twenty-day period, then after

expiration of such period the Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party selling, trading, or otherwise

transferring Beneficial Ownership of additional shares of Common Stock will each require an

additional notice filed with the Court to be served in the same manner as this Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




                                                 3
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                                               Respectfully submitted,

                                               (Name of Declarant)

                                               By:
                                               ________________________________
                                               Name: _____________________________
                                               Address: ___________________________
                                               ___________________________________
                                               Telephone: _________________________
                                               Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________
       (City)      (State)




                                          4
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                       Exhibit 1D

                Notice of Interim Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )     Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )     (Joint Administration Requested)
                                                                    )

                             NOTICE OF INTERIM ORDER
                     (I) APPROVING NOTIFICATION AND HEARING
               PROCEDURES FOR CERTAIN TRANSFERS OF COMMON STOCK
                          AND (II) GRANTING RELATED RELIEF

TO: ALL ENTITIES (AS DEFINED BY SECTION 101(15) OF THE BANKRUPTCY
CODE) THAT MAY HOLD BENEFICIAL OWNERSHIP OF THE EXISTING CLASSES
(OR SERIES) OF COMMON STOCK (THE “COMMON STOCK”), OF YELLOW
CORPORATION:

             PLEASE TAKE NOTICE that on August 6, 2023 (the “Petition Date”), the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), filed petitions

with the United States Bankruptcy Court for the District of Delaware (the “Court”) under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). Subject to certain

exceptions, section 362 of the Bankruptcy Code operates as a stay of any act to obtain possession

of property of or from the Debtors’ estates or to exercise control over property of or from the

Debtors’ estates.

             PLEASE TAKE FURTHER NOTICE that on the Petition Date, the Debtors filed the

Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification and Hearing




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
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Procedures for Certain Transfers of Common Stock and (II) Granting Related Relief

[Docket No. __] (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that on [______], 2023, the Court entered the

Interim Order (I) Approving Notification and Hearing Procedures for Certain Transfers of

Common Stock and (II) Granting Related Relief [Docket No. __] (the “Interim Order”) approving

procedures for certain transfers of Common Stock set forth in Exhibit 1 attached to the Interim

Order (the “Procedures”).2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, a Substantial

Shareholder may not consummate any purchase, sale, or other transfer of Common Stock or

Beneficial Ownership of Common Stock in violation of the Procedures, and any such transaction

in violation of the Procedures shall be null and void ab initio.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, the

Procedures shall apply to the holding and transfers of Common Stock or any Beneficial Ownership

therein by a Substantial Shareholder or someone who may become a Substantial Shareholder.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, upon the

request of any entity, the proposed notice, claims, and solicitation agent for the Debtors, Epiq

Corporate Restructuring, LLC will provide a copy of the Interim Order and a form of each of the

declarations required to be filed by the Procedures in a reasonable period of time.                             Such



2   Capitalized terms used but not otherwise defined herein have the meanings given to them in the Interim Order or
    the Motion, as applicable.

    All registered and nominee holders of Common Stock shall be required to serve the Notice of Interim Order or
    Notice of Final Order, as applicable, on any holder for whose benefit such registered or nominee holder holds
    such Common Stock, down the chain of ownership for all such holders of Common Stock. Any entity or
    individual, or broker or agent acting on such entity’s or individual’s behalf who sells Common Stock to another
    entity or individual, shall be required to serve a copy of the Notice of Interim Order or Notice of Final Order, as
    applicable, on such purchaser of such Common Stock, or any broker or agent acting on such purchaser’s behalf.




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declarations are also available via PACER on the Court’s website at https://ecf.deb.uscourts.gov/

for a fee, or free of charge by accessing the Debtors’ restructuring website at

https://dm.epiq11.com/YellowCorporation.

        PLEASE TAKE FURTHER NOTICE that the final hearing (the “Final Hearing”) on the

Motion shall be held on _________, 2023, at__:__ _.m., prevailing Eastern Time. Any objections

or responses to entry of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing

Eastern Time, on _________, 2023 and shall be served on: (a) the Debtors, 11500 Outlook Street,

Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (b) proposed counsel to the

Debtors (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.: Patrick J.

Nash       Jr.,     P.C.       (patrick.nash@kirkland.com),         David        Seligman        P.C.

(david.seligman@kirkland.com); and Whitney Fogelberg (whitney.fogelberg@kirkland.com) and

(ii) Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson

B. Smith (allyson.smith@kirkland.com); (iii) Pachulski Stang Ziehl & Jones LLP, 919 North

Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn: Laura Davis Jones

(ljones@pszjlaw.com),      Timothy     P.   Cairns     (tcairns@pszjlaw.com),     Peter   J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (c) the United States

Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane

Leamy (jane.m.leamy@usdoj.gov); and (d) any statutory committee appointed in these chapter 11

case.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Interim Order, failure to

follow the procedures set forth in the Interim Order shall constitute a violation of, among other

things, the automatic stay provisions of section 362 of the Bankruptcy Code.




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        PLEASE TAKE FURTHER NOTICE that nothing in the Interim Order shall preclude

any person desirous of acquiring any Common Stock from requesting relief from the Interim Order

from this Court, subject to the Debtors’ and the other Declaration Notice Parties’ rights to oppose

such relief.

        PLEASE TAKE FURTHER NOTICE that other than to the extent that the Interim Order

expressly conditions or restricts trading in Common Stock, nothing in the Interim Order or in the

Motion shall, or shall be deemed to, prejudice, impair, or otherwise alter or affect the rights of any

holders of Common Stock, including in connection with the treatment of any such stock under any

chapter 11 plan or any applicable bankruptcy court order.

        PLEASE TAKE FURTHER NOTICE that any prohibited purchase, sale, other transfer

of Beneficial Ownership of Common Stock, or option with respect thereto in violation of the

Interim Order is prohibited and shall be null and void ab initio and may be subject to additional

sanctions as this court may determine.

        PLEASE TAKE FURTHER NOTICE that the requirements set forth in the Interim

Order are in addition to the requirements of applicable law and do not excuse compliance

therewith.




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Dated: [●], 2023
Wilmington, Delaware

/s/ DRAFT
Laura Davis Jones (DE Bar No. 2436)       Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)       David Seligman, P.C. (pro hac vice pending)
Peter J. Keane (DE Bar No. 5503)          Whitney Fogelberg (pro hac vice pending)
Edward Corma (DE Bar No. 6718)            KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP         KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor       300 North LaSalle
P.O. Box 8705                             Chicago, Illinois 60654
Wilmington, Delaware 19801                Telephone:       (312) 862-2000
Telephone:      (302) 652-4100            Facsimile:       (312) 862-2200
Facsimile:      (302) 652-4400            Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                         david.seligman@kirkland.com
                tcairns@pszjlaw.com                        whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com        -and-

                                          Allyson B. Smith (pro hac vice pending)
                                          KIRKLAND & ELLIS LLP
                                          KIRKLAND & ELLIS INTERNATIONAL LLP
                                          601 Lexington Avenue
                                          New York, New York 10022
                                          Telephone:     (212) 446-4800
                                          Facsimile:     (212) 446-4900
                                          Email:         allyson.smith@kirkland.com

                                          Proposed Co-Counsel for the Debtors and Debtors in
                                          Possession
